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                                                                     STREAMLINED
                                                 JAMS
                                                 STREAMLINED
                                                 ARBITRATION
                                                 RULES &
                                                 PROCEDURES
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      JAMS STREAMLINED
      ARBITRATION RULES
      & PROCEDURES
      JAMS provides arbitration and mediation services from
      Resolution Centers located throughout the United
      States. Its arbitrators and mediators hear and resolve
      some of the nation’s largest, most complex and conten-
      tious disputes, utilizing JAMS Rules & Procedures as
      well as the rules of other domestic and international
      arbitral institutions.

      JAMS arbitrators and mediators are full-time neutrals
      who come from the ranks of retired state and federal
      judges and prominent attorneys. These highly trained
      and experienced ADR professionals are dedicated to
      the highest ethical standards of conduct.

      Parties wishing to write a pre-dispute JAMS arbitration
      clause into their agreement should review the sample
      arbitration clauses on Page 4. These clauses may be
      modified to tailor the arbitration process to meet the
      parties’ individual needs.
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Standard Arbitration Clauses                                                       tion. This clause shall not preclude parties from seeking
                                                                                   provisional remedies in aid of arbitration from a court of
Referring To The JAMS                                                              appropriate jurisdiction.
Streamlined Arbitration Rules
                                                                                   (Optional) Allocation of Fees and Costs: The arbitrator
                                                                                   may, in the Award, allocate all or part of the costs of the
Standard Commercial Arbitration Clause*                                            arbitration, including the fees of the arbitrator and the
    Any dispute, claim or controversy arising out of or                            reasonable attorneys’ fees of the prevailing party.
    relating to this Agreement or the breach, termination,
    enforcement, interpretation or validity thereof, including                   *The drafter should select the desired option from those
    the determination of the scope or applicability of this                      provided in the parentheses.
    agreement to arbitrate, shall be determined by arbitration
    in (insert the desired place of arbitration), before (one)
    (three) arbitrator(s). The arbitration shall be adminis-
                                                                                 Case Management Fees
    tered by JAMS pursuant to its Streamlined Arbitration                        JAMS charges a nominal Case Management Fee. For
    Rules & Procedures (Comprehensive Arbitration Rules                          arbitrations the Case Management Fee is:
    & Procedures). Judgment on the Award may be entered
    in any court having jurisdiction. This clause shall not                      Hearing Length	Fee
    preclude parties from seeking provisional remedies in                        1 to 3 days . . . . . . . . . . . . . . . . $400 per party, per day
    aid of arbitration from a court of appropriate jurisdiction.                 (1 day is defined as 10 hours of professional time)

                                                                                 Time in excess of initial 30 hours. . . . . . . . . . . . 10% of
    (Optional) Allocation of Fees and Costs: The arbitrator
                                                                                                                               professional fees
    may, in the Award, allocate all or part of the costs of the
    arbitration, including the fees of the arbitrator and the
                                                                                 JAMS neutrals set their own hourly, partial and full-day
    reasonable attorneys’ fees of the prevailing party.
                                                                                 rates. For information on individual neutrals’ rates and
                                                                                 the Case Management Fee, please contact JAMS at
Sometimes contracting parties may want their agreement to
                                                                                 800-352-JAMS. The Case Management Fee structure is
allow a choice of provider organizations (JAMS being one)
                                                                                 subject to change.
that can be used if a dispute arises. The following clause
permits a choice between JAMS or another provider orga-
nization at the option of the first party to file the arbitration.
                                                                                 All of the JAMS Rules, including the Streamlined Arbitra-
                                                                                 tion Rules set forth below, can be accessed at the JAMS
Standard Commercial Arbitration Clause                                           website: www.jamsadr.com.
Naming JAMS or Another Provider*
    Any dispute, claim or controversy arising out of or relating
    to this Agreement or the breach, termination, enforce-
    ment, interpretation or validity thereof, including the de-
    termination of the scope or applicability of this agreement
    to arbitrate, shall be determined by arbitration in (insert
    the desired place of arbitration), before (one) (three)
    arbitrator(s). At the option of the first to commence an
    arbitration, the arbitration shall be administered either
    by JAMS pursuant to its (Streamlined Arbitration Rules
    & Procedures) (Comprehensive Arbitration Rules & Pro-
    cedures), or by (name an alternate provider) pursuant
    to its (identify the rules that will govern). Judgment on
    the Award may be entered in any court having jurisdic-


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JAMS Streamlined                             Rule 2.  Party-Agreed Procedures

Arbitration Rules                                                               The Parties may agree on any procedures not specified
                                                                                herein or in lieu of these Rules that are consistent with the
& Procedures                                                                    applicable law and JAMS policies (including, without limita-
                                                                                tion, Rules 12(j), 25 and 26). The Parties shall promptly
                                                                                notify JAMS of any such Party-agreed procedures and shall
NOTICE: These Rules are the copyrighted property of
                                                                                confirm such procedures in writing. The Party-agreed pro-
JAMS. They cannot be copied, reprinted or used in any way
                                                                                cedures shall be enforceable as if contained in these Rules.
without permission of JAMS, unless they are being used
by the parties to an arbitration as the rules for that arbitra-
tion. If they are being used as the rules for an arbitration,                   Rule 3.          Amendment of Rules
proper attribution must be given to JAMS. If you wish to
                                                                                JAMS may amend these Rules without notice. The Rules in
obtain permission to use our copyrighted materials, please
                                                                                effect on the date of the commencement of an Arbitration
contact JAMS at 949-224-1810.
                                                                                (as defined in Rule 5) shall apply to that Arbitration, unless
                                                                                the Parties have agreed upon another version of the Rules.
Rule 1.           Scope of Rules
(a) The JAMS Streamlined Arbitration Rules & Proce-
                                                                                Rule 4.          Conflict with Law
dures (“Rules”) govern binding Arbitrations of disputes or
claims that are administered by JAMS and in which the                           If any of these Rules, or modification of these Rules agreed
Parties agree to use these Rules or, in the absence of such                     on by the Parties, is determined to be in conflict with a
agreement, no disputed claim or counterclaim exceeds                            provision of applicable law, the provision of law will govern
$250,000, not including interest or attorneys’ fees, unless                     over the Rule in conflict, and no other Rule will be affected.
other Rules are prescribed.
                                                                                Rule 5.          Commencing an Arbitration
(b) The Parties shall be deemed to have made these
                                                                                (a) The Arbitration is deemed commenced when JAMS
Rules a part of their Arbitration agreement (“Agreement”)
                                                                                confirms in a Commencement Letter its receipt of one of
whenever they have provided for Arbitration by JAMS under
                                                                                the following:
its Streamlined Rules or for Arbitration by JAMS without
specifying any particular JAMS Rules and the disputes or                            (i) A post-dispute Arbitration agreement fully ex-
claims meet the criteria of the first paragraph of this Rule.                   ecuted by all Parties and that specifies JAMS administration
                                                                                or use of any JAMS Rules; or
(c) The authority and duties of JAMS are prescribed in the                           (ii) A pre-dispute written contractual provision requir-
Agreement of the Parties and in these Rules, and may be                         ing the Parties to arbitrate the dispute or claim and which
carried out through such representatives as it may direct.                      specifies JAMS administration or use of any JAMS Rules
                                                                                or which the Parties agree shall be administered by JAMS;
(d) JAMS may, in its discretion, assign the administration                      or
of an Arbitration to any of its Resolution Centers.
                                                                                     (iii) A written confirmation of an oral agreement of
(e) The term “Party” as used in these Rules includes Par-                       all Parties to participate in an Arbitration administered by
ties to the Arbitration and their counsel or representatives.                   JAMS or conducted pursuant to any JAMS Rules, con-
                                                                                firmed in writing by the Parties; or
f) “Electronic filing” (e-file) means the electronic trans-                        (iv) A copy of a court order compelling Arbitration at
mission of documents to and from JAMS and other Par-                            JAMS.
ties for the purpose of filing via the Internet. “Electronic
service” (e-service) means the electronic transmission of                       (b) The Commencement Letter shall confirm which one
documents via JAMS Electronic Filing System to a Party,                         of the above requirements for commencement has been
attorney or representative under these Rules.                                   met, that JAMS has received all payments required under
                                                                                the applicable fee schedule, and that the claimant has


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provided JAMS with contact information for all Parties                          Upon completion of filing, JAMS Electronic Filing System
along with evidence that the Demand has been served on                          shall issue a confirmation receipt that includes the date
all Parties.                                                                    and time of receipt. The confirmation receipt shall serve
                                                                                as proof of filing.
(c) If a Party that is obligated to arbitrate in accordance
with subparagraph (a) of this Rule fails to agree to par-                            Every document electronically filed or served shall
ticipate in the Arbitration process, JAMS shall confirm in                      be deemed to have been signed by the Arbitrator, Case
writing that Party’s failure to respond or participate and,                     Manager, attorney or declarant who submits the document
pursuant to Rule 14, the Arbitrator shall schedule, and pro-                    to JAMS Electronic Filing System, and shall bear the typed
vide appropriate notice of, a Hearing or other opportunity                      name, address, telephone number, and Bar number of a
for the Party demanding the Arbitration to demonstrate its                      signing attorney. Typographical signatures shall be treated
entitlement to relief.                                                          as personal signatures for all purposes under these Rules.
                                                                                Documents containing signatures of third-parties (i.e., un-
(d) The date of commencement of the Arbitration is the                          opposed motions, affidavits, stipulations, etc.) may also be
date of the Commencement Letter, but is not intended to                         filed electronically by indicating that the original signatures
be applicable to any legal requirements such as the statute                     are maintained by the filing Party in paper-format.
of limitations, any contractual limitations period, or claims
notice requirement. The term “commencement” as used                                  Delivery of e-service documents through JAMS
in this Rule is intended only to pertain to the operation                       Electronic Filing System to other registered users shall
of this and other rules (such as Rule 3, 7(a), 7(c), 10(a),                     be considered as valid and effective service and shall
26(a).)                                                                         have the same legal effect as an original paper docu-
                                                                                ment. Recipients of e-service documents shall access
(e) Service by a Party under these Rules is effected by                         their documents through JAMS Electronic Filing System.
providing one signed copy of the document to each Party                         E-service shall be deemed complete when the party initiat-
and two copies to JAMS. Service may be made by hand-                            ing e-service completes the transmission of the electronic
delivery, overnight delivery service or U.S. Mail. Service by                   document(s) to JAMS Electronic Filing System for e-filing
any of these means is considered effective upon the date                        and/or e-service. Upon actual or constructive receipt of
of deposit of the document. Service by electronic mail or                       the electronic document(s) by the party to be served, a
facsimile transmission is considered effective upon trans-                      Certificate of Electronic Service shall be issued by JAMS
mission, but only if followed within one week of delivery by                    Electronic Filing System to the party initiating e-service and
service of an appropriate number of copies and originals by                     that Certificate shall serve as proof of service. Any party who
one of the other service methods. In computing any period                       ignores or attempts to refuse e-service shall be deemed
of time prescribed or allowed by these Rules for a Party to                     to have received the electronic document(s) 72 hours fol-
do some act within a prescribed period after the service                        lowing the transmission of the electronic document(s) to
of a notice or other paper on the Party and the notice or                       JAMS Electronic Filing System.
paper is served on the Party only by U.S. Mail, three (3)
calendar days shall be added to the prescribed period.                               If an electronic filing or service does not occur because
                                                                                of (1) an error in the transmission of the document to
(f) Electronic Filing. The Arbitrator may at any time require                   JAMS Electronic Filing System or served Party which was
electronic filing and service of documents in an Arbitra-                       unknown to the sending Party, (2) a failure to process the
tion. If an Arbitrator requires electronic filing, the Parties                  electronic document when received by JAMS Electronic
shall maintain and regularly monitor a valid, usable and                        Filing System, (3) the Party was erroneously excluded from
live email address for the receipt of all documents filed                       the service list, or (4) other technical problems experienced
through JAMS Electronic Filing System. Any document                             by the filer, the Arbitrator or JAMS may for good cause
filed electronically shall be considered as filed with JAMS                     shown permit the document to be filed nunc pro tunc to
when the transmission to JAMS Electronic Filing System                          the date it was first attempted to be sent electronically. Or,
is complete. Any document e-filed by 11:59 p.m. (of the                         in the case of service, the Party shall, absent extraordinary
sender’s time zone) shall be deemed filed on that date.                         circumstances, be entitled to an order extending the date



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for any response or the period within which any right, duty                          (ii) Where a Demand or Demands for Arbitration is or
or other act must be performed.                                                  are submitted naming Parties already involved in another
                                                                                 Arbitration or Arbitrations pending under these Rules,
                                                                                 JAMS may decide that the new case or cases shall be
Rule 6.          Preliminary and                                                 consolidated into one or more of the pending proceedings
                 Administrative Matters                                          and referred to one of the Arbitrators already appointed.
(a) JAMS may convene, or the Parties may request, ad-                                 (iii) Where a Demand or Demands for Arbitration is or
ministrative conferences to discuss any procedural matter                        are submitted naming parties that are not identical to the
relating to the administration of the Arbitration.                               Parties in the existing Arbitration or Arbitrations, JAMS may
                                                                                 decide that the new case or cases shall be consolidated
(b) If no Arbitrator has yet been appointed, at the request                      into one or more of the pending proceedings and referred
of a Party and in the absence of Party agreement, JAMS                           to one of the Arbitrators already appointed.
may determine the location of the Hearing, subject to
Arbitrator review. In determining the location of the Hear-                          When rendering its decision, JAMS will take into
ing such factors as the subject matter of the dispute, the                       account all circumstances, including the links between
convenience of the Parties and witnesses and the relative                        the cases and the progress already made in the existing
resources of the Parties shall be considered.                                    Arbitrations.

(c) If, at any time, any Party has failed to pay fees or                              Unless applicable law provides otherwise, where
expenses in full, JAMS may order the suspension or                               JAMS decides to consolidate a proceeding into a pending
termination of the proceedings. JAMS may so inform the                           Arbitration, the Parties to the consolidated case or cases
Parties in order that one of them may advance the required                       will be deemed to have waived their right to designate an
payment. If one Party advances the payment owed by a                             Arbitrator as well as any contractual provision with respect
non-paying Party, the Arbitration shall proceed and the                          to the site of the Arbitration.
Arbitrator may allocate the non-paying Party’s share of
such costs, in accordance with Rules 19 (e) and 26 (c).                          (f) Where a third party seeks to participate in an Arbitra-
An administrative suspension shall toll any other time limits                    tion already pending under these Rules or where a Party
contained in these Rules, or the Parties’ agreement.                             to an Arbitration under these Rules seeks to compel a third
                                                                                 party to participate in a pending Arbitration, the Arbitrator
(d) JAMS does not maintain an official record of docu-                           shall determine such request, taking into account all cir-
ments filed in the Arbitration. If the Parties wish to have                      cumstances the Arbitrator deems relevant and applicable.
any documents returned to them, they must advise JAMS
in writing within 30 days of the conclusion of the Arbitra-
tion. If special arrangements are required regarding file                        Rule 7.          Notice of Claims
maintenance or document retention, they must be agreed                           (a) Each Party shall afford all other Parties reasonable and
to in writing and JAMS reserves the right to impose an ad-                       timely notice of its claims, affirmative defenses or coun-
ditional fee for such special arrangements. Documents that                       terclaims. Any such notice shall include a short statement
are submitted for e-filing are retained for 30 days following                    of its factual basis. No claim, remedy, counterclaim, or
the conclusion of the Arbitration.                                               affirmative defense will be considered by the Arbitrator in
                                                                                 the absence of such prior notice to the other Parties, unless
(e) Unless the Parties’ agreement or applicable law pro-                         the Arbitrator determines that no Party has been unfairly
vides otherwise, JAMS may consolidate Arbitrations in the                        prejudiced by such lack of formal notice or all Parties agree
following instances:                                                             that such consideration is appropriate notwithstanding the
    (i) If a Party files more than one Arbitration with                          lack of prior notice.
JAMS, JAMS may consolidate the Arbitrations into a single
Arbitration.                                                                     (b) Within seven (7) calendar days after the commence-
                                                                                 ment of an Arbitration, Claimant shall submit to JAMS and



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serve on the other Parties a notice of its claim and remedies                    (e) The Arbitrator may, upon a showing of good cause or
sought. Such notice shall consist of either a Demand for                         sua sponte, when necessary to facilitate the Arbitration,
Arbitration or a copy of a Complaint previously filed with                       extend any deadlines established in these Rules, provided
a court. (In the latter case, Claimant may accompany the                         that the time for rendering the Award may only be altered
Complaint with a copy of any Answer to that Complaint                            in accordance with Rule 19.
filed by any Respondent.)

(c) Within seven (7) calendar days of service of the notice
                                                                                 Rule 9.          Representation
of claim, a Respondent may submit to JAMS and serve on                           (a) The Parties may be represented by counsel or any
other Parties a response and must so submit and serve a                          other person of the Party’s choice. Each Party shall give
statement of any affirmative defenses (including jurisdic-                       prompt written notice to JAMS and the other Parties of
tional challenges) or counterclaims it may have.                                 the name, address, telephone and fax numbers and email
                                                                                 address of its representative. The representative of a Party
(d) Within seven (7) calendar days of service of a coun-                         may act on the Party’s behalf in complying with these Rules.
terclaim, a claimant may submit to JAMS and serve on
other Parties a response to such counterclaim and must so                        (b) Changes in Representation. A Party shall give prompt
submit and serve a statement of any affirmative defenses                         written notice to the Case Manager and the other Parties
(including jurisdictional challenges) it may have.                               of any change in its representation, including the name,
                                                                                 address, telephone and fax numbers, and email address
(e) Any claim or counterclaim to which no response has                           of the new representative. Such notice shall state that the
been served will be deemed denied.                                               written consent of the former representative, if any, and of
                                                                                 the new representative, has been obtained and shall state
                                                                                 the effective date of the new representation.
Rule 8.          Interpretation of Rules and
                 Jurisdiction Challenges
                                                                                 Rule 10.         Withdrawal from Arbitration
(a) Once appointed, the Arbitrator shall resolve disputes
about the interpretation and applicability of these Rules                        (a) No Party may terminate or withdraw from an Arbitra-
and conduct of the Arbitration Hearing. The resolution of                        tion after the issuance of the Commencement Letter (see
the issue by the Arbitrator shall be final.                                      Rule 5) except by written agreement of all Parties to the
                                                                                 Arbitration.
(b) Whenever in these Rules a matter is to be determined
by “JAMS” (such as in Rules 6; 12(d), (e), (h) or (j); or                        (b) A Party that asserts a claim or counterclaim may
26(d)), such determination shall be made in accordance                           unilaterally withdraw that claim or counterclaim without
with JAMS administrative procedures.                                             prejudice by serving written notice on the other Parties
                                                                                 and on the Arbitrator. However, the opposing Parties may,
(c) Jurisdictional and arbitrability disputes, including                         within fourteen (14) calendar days of service of notice of
disputes over the formation, existence, validity, interpre-                      the withdrawal of the claim or counterclaim, request that
tation or scope of the agreement under which Arbitration                         the Arbitrator order that the withdrawal be with prejudice.
is sought, and who are proper Parties to the Arbitration,                        If such a request is made, it shall be determined by the
shall be submitted to and ruled on by the Arbitrator. The                        Arbitrator.
Arbitrator has the authority to determine jurisdiction and
arbitrability issues as a preliminary matter.                                    Rule 11.         Ex Parte Communications
(d) Disputes concerning the appointment of the Arbitrator                        No Party will have any ex parte communication with the
shall be resolved by JAMS.                                                       Arbitrator regarding any issue related to the Arbitration.
                                                                                 Any necessary ex parte communication with the Arbitra-
                                                                                 tor, whether before or after the Arbitration Hearing, will be
                                                                                 conducted through JAMS.



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Rule 12. Arbitrator Selection and Replacement        is unable to fulfill his or her duties, and that decision shall
                                                                                 be final.
(a) JAMS Streamlined Arbitrations will be conducted by
one neutral Arbitrator.
                                                                                 (i) Any disclosures regarding the selected Arbitrator shall
                                                                                 be made as required by law or within ten (10) calendar
(b) Unless the Arbitrator has been previously selected by
                                                                                 days from the date of appointment. The obligation of the
agreement of the Parties, the Case Manager may attempt to
                                                                                 Arbitrator to make all required disclosures continues
facilitate agreement among the Parties regarding selection
                                                                                 throughout the Arbitration process. Such disclosures may
of the Arbitrator.
                                                                                 be provided in electronic format, provided that JAMS will
                                                                                 produce a hard copy to any Party that requests it.
(c) If the Parties do not agree on an Arbitrator, JAMS
shall send the Parties a list of at least three (3) Arbitrator
                                                                                 (j) At any time during the Arbitration process, a Party
candidates. JAMS shall also provide each Party with a brief
                                                                                 may challenge the continued service of an Arbitrator for
description of the background and experience of each
                                                                                 cause. The challenge must be based upon information that
Arbitrator candidate. JAMS may replace any or all names
                                                                                 was not available to the Parties at the time the Arbitrator
on the list of Arbitrator candidates for reasonable cause
                                                                                 was selected. A challenge for cause must be in writing
at any time before the Parties have submitted their choice
                                                                                 and exchanged with opposing Parties who may respond
pursuant to subparagraph (d) below.
                                                                                 within seven (7) days of service of the challenge. JAMS
                                                                                 shall make the final determination as to such challenge.
(d) Within seven (7) calendar days of service by the Parties
                                                                                 Such determination shall take into account the materiality
of the list of names, each Party may strike one name and
                                                                                 of the facts and any prejudice to the Parties. That decision
shall rank the remaining Arbitrator candidates in order of
                                                                                 will be final.
preference. The remaining Arbitrator candidate with the
highest composite ranking shall be appointed the Arbitra-
tor. JAMS may grant a reasonable extension of the time                           Rule 13.         Exchange of Information
to strike and rank the Arbitrator candidates to any Party
                                                                                 (a) The Parties shall cooperate in good faith in the volun-
without the consent of the other Parties.
                                                                                 tary and informal exchange of all non-privileged documents
                                                                                 and information (including electronically stored information
(e) If this process does not yield an Arbitrator, JAMS shall
                                                                                 (“ESI”)) relevant to the dispute or claim, including copies
designate the Arbitrator.
                                                                                 of all documents in their possession or control on which
                                                                                 they rely in support of their positions or which they intend
(f) If a Party fails to respond to a list of Arbitrator candi-
                                                                                 to introduce as exhibits at the Arbitration Hearing, the
dates within seven (7) calendar days after its service, JAMS
                                                                                 names of all individuals with knowledge about the dispute
shall deem that Party to have accepted all of the Arbitrator
                                                                                 or claim and the names of all experts who may be called
candidates.
                                                                                 upon to testify or whose report may be introduced at the
                                                                                 Arbitration Hearing. The Parties and the Arbitrator will
(g) Entities whose interests are not adverse with respect
                                                                                 make every effort to conclude the document and informa-
to the issues in dispute shall be treated as a single Party
                                                                                 tion exchange process within fourteen (14) calendar days
for purposes of the Arbitrator selection process. JAMS
                                                                                 after all pleadings or notices of claims have been received.
shall determine whether the interests between entities are
                                                                                 The necessity of additional information exchange shall be
adverse for purposes of Arbitrator selection, considering
                                                                                 determined by the Arbitrator based upon the reasonable
such factors as whether the entities are represented by the
                                                                                 need for the requested information, the availability of other
same attorney and whether the entities are presenting joint
                                                                                 discovery options and the burdensomeness of the request
or separate positions at the Arbitration.
                                                                                 on the opposing Parties and the witness.

(h) If, for any reason, the Arbitrator who is selected is un-
                                                                                 (b) As they become aware of new documents or informa-
able to fulfill the Arbitrator’s duties, a successor Arbitrator
                                                                                 tion, including experts who may be called upon to testify, all
shall be chosen in accordance with this Rule. JAMS will
                                                                                 Parties continue to be obligated to provide relevant, non-
make the final determination as to whether an Arbitrator


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privileged documents, to supplement their identification of                       such exhibits to the extent that it has not been previously
witnesses and experts and to honor any informal agree-                            exchanged. The Parties should pre-mark exhibits and shall
ments or understandings between the Parties regarding                             attempt to resolve any disputes regarding the admissibility
documents or information to be exchanged. Documents                               of exhibits prior to the Hearing.
that were not previously exchanged, or witnesses and
experts that were not previously identified, may not be                           (b) The Arbitrator may require that each Party submit con-
considered by the Arbitrator at the Hearing, unless agreed                        cise written statements of position, including summaries of
by the Parties or upon a showing of good cause.                                   the facts and evidence a Party intends to present, discus-
                                                                                  sion of the applicable law and the basis for the requested
(c) The Parties shall promptly notify JAMS when a dispute                         Award or denial of relief sought. The statements, which
exists regarding discovery issues. A conference shall be                          may be in the form of a letter, shall be filed with JAMS and
arranged with the Arbitrator, either by telephone or in                           served upon the other Parties, at least seven (7) calendar
person, and the Arbitrator shall decide the dispute.                              days before the Hearing date. Rebuttal statements or
                                                                                  other pre-Hearing written submissions may be permitted
                                                                                  or required at the discretion of the Arbitrator.
Rule 14.          Scheduling and Location of Hearing
(a) The Arbitrator, after consulting with the Parties that
have appeared, shall determine the date, time and location                        Rule 16.         Securing Witnesses and Documents
of the Hearing. The Arbitrator and the Parties shall attempt                                       for the Arbitration Hearing
to schedule consecutive Hearing days if more than one day                         At the written request of a Party, all other Parties shall
is necessary.                                                                     produce for the Arbitration Hearing all specified witnesses
                                                                                  in their employ or under their control without need of
(b) If a Party has failed to participate in the Arbitration pro-                  subpoena. The Arbitrator may issue subpoenas for the
cess, the Arbitrator may set the Hearing without consulting                       attendance of witnesses or the production of documents
with that Party. The non-participating Party shall be served                      either prior to or at the Hearing pursuant to this Rule or Rule
with a Notice of Hearing at least thirty (30) calendar days                       14(c) . The subpoena or subpoena duces tecum shall be
prior to the scheduled date unless the law of the relevant                        issued in accordance with the applicable law. Pre-issued
jurisdiction allows for or the Parties have agreed to shorter                     subpoenas may be used in jurisdictions that permit them.
notice.                                                                           In the event a Party or a subpoenaed person objects to
                                                                                  the production of a witness or other evidence, the Party or
(c) The Arbitrator, in order to hear a third party witness,                       subpoenaed person may file an objection with the Arbitra-
or for the convenience of the Parties or the witnesses, may                       tor, who shall promptly rule on the objection, weighing both
conduct the Hearing at any location. Any JAMS Resolution                          the burden on the producing Party and witness and the
Center may be designated a Hearing location for purposes                          need of the proponent for the witness or other evidence.
of the issuance of a subpoena or subpoena duces tecum
to a third party witness.
                                                                                  Rule 17.         The Arbitration Hearing
                                                                                  (a) The Arbitrator will ordinarily conduct the Arbitration
Rule 15.          Pre-Hearing Submissions                                         Hearing in the manner set forth in these Rules. The Arbitra-
(a) Except as set forth in any scheduling order that may                          tor may vary these procedures if it is determined reasonable
be adopted, at least seven (7) calendar days before the                           and appropriate to do so.
Arbitration Hearing, the Parties shall file with JAMS and
serve and exchange (1) a list of the witnesses they intend                        (b) The Arbitrator shall determine the order of proof, which
to call, including any experts, (2) a short description of the                    will generally be similar to that of a court trial.
anticipated testimony of each such witness and an estimate
of the length of the witness’s direct testimony, and (3) a                        (c) The Arbitrator shall require witnesses to testify under
list of all exhibits intended to be used at the Hearing. The                      oath if requested by any Party, or otherwise in the discre-
Parties should exchange with each other a copy of any                             tion of the Arbitrator.


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(d) Strict conformity to the rules of evidence is not re-                         re-opened and the reopening prevents the rendering of the
quired, except that the Arbitrator shall apply applicable                         Award within the time limits specified by these Rules, the
law relating to privileges and work product. The Arbitrator                       time limits will be extended until the reopened Hearing is
shall consider evidence that he or she finds relevant and                         declared closed by the Arbitrator.
material to the dispute, giving the evidence such weight
as is appropriate. The Arbitrator may be guided in that                           (j) The Arbitrator may proceed with the Hearing in the
determination by principles contained in the Federal Rules                        absence of a Party that, after receiving notice of the Hear-
of Evidence or any other applicable rules of evidence. The                        ing pursuant to Rule 14, fails to attend. The Arbitrator may
Arbitrator may limit testimony to exclude evidence that                           not render an Award solely on the basis of the default or
would be immaterial or unduly repetitive, provided that all                       absence of the Party, but shall require any Party seeking
Parties are afforded the opportunity to present material                          relief to submit such evidence as the Arbitrator may require
and relevant evidence.                                                            for the rendering of an Award. If the Arbitrator reasonably
                                                                                  believes that a Party will not attend the Hearing, the Arbitra-
(e) The Arbitrator shall receive and consider relevant                            tor may schedule the Hearing as a telephonic Hearing and
deposition testimony recorded by transcript or videotape,                         may receive the evidence necessary to render an Award
provided that the other Parties have had the opportunity                          by affidavit. The notice of Hearing shall specify if it will be
to attend and cross-examine. The Arbitrator may in his or                         in person or telephonic.
her discretion consider witness affidavits or other recorded
testimony even if the other Parties have not had the op-                          (k) (i) Any Party may arrange for a stenographic or other
portunity to cross-examine, but will give that evidence only                      record to be made of the Hearing and shall inform the other
such weight as the Arbitrator deems appropriate.                                  Parties in advance of the Hearing. The requesting Party
                                                                                  shall bear the cost of such stenographic record. If all other
(f) The Parties will not offer as evidence, and the Arbitrator                    Parties agree to share the cost of the stenographic record,
shall neither admit into the record nor consider, prior settle-                   it shall be made available to the Arbitrator and may be used
ment offers by the Parties or statements or recommenda-                           in the proceeding.
tions made by a mediator or other person in connection                                 (ii) If there is no agreement to share the cost of the
with efforts to resolve the dispute being arbitrated, except                      stenographic record, it may not be provided to the Arbi-
to the extent that applicable law permits the admission of                        trator and may not be used in the proceeding unless the
such evidence.                                                                    Party arranging for the stenographic record either agrees
                                                                                  to provide access to the stenographic record at no charge
(g) The Hearing or any portion thereof may be conducted                           or on terms that are acceptable to the Parties and the
telephonically with the agreement of the Parties or in the                        reporting service.
discretion of the Arbitrator.
                                                                                      (iii) The Parties may agree that the cost of the
(h) When the Arbitrator determines that all relevant and                          stenographic record shall or shall not be allocated by the
material evidence and arguments have been presented,                              Arbitrator in the Award.
and any interim or partial awards have been issued, the
Arbitrator shall declare the Hearing closed. The Arbitrator
                                                                                  Rule 18.         Waiver of Hearing
may defer the closing of the Hearing until a date agreed
upon by the Arbitrator and the Parties, to permit the Par-                        The Parties may agree to waive oral Hearing and submit
ties to submit post-Hearing briefs, which may be in the                           the dispute to the Arbitrator for an Award based on written
form of a letter. If post-Hearing briefs are to be submitted                      submissions and other evidence as the Parties may agree.
the Hearing shall be deemed closed upon receipt by the
Arbitrator of such briefs.                                                        Rule 19.         Awards
                                                                                  (a) The Arbitrator shall render a Final Award or Partial
(i) At any time before the Award is rendered, the Arbitra-
                                                                                  Final Award within thirty (30) calendar days after the date
tor may, sua sponte or upon the application of a Party for
                                                                                  of the close of the Hearing as defined in Rule 17(h) or, if a
good cause shown, re-open the Hearing. If the Hearing is
                                                                                  Hearing has been waived, within thirty (30) calendar days


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after the receipt by the Arbitrator of all materials specified                    (h) After the Award has been rendered, and provided the
by the Parties, except (i) by the Agreement of the Parties,                       Parties have complied with Rule 26, the Award shall be is-
(ii) upon good cause for an extension of time to render the                       sued by serving copies on the Parties. Service may be made
Award, or (iii) as provided in Rule 17(i). The Arbitrator shall                   by U.S. Mail. It need not be sent certified or registered.
provide the Final Award or Partial Final Award to JAMS for
issuance in accordance with this Rule.                                            (i) Within seven (7) calendar days after service of the
                                                                                  Award by JAMS, any Party may serve upon the other
(b) In determining the merits of the dispute the Arbitrator                       Parties and on JAMS a request that the Arbitrator correct
shall be guided by the rules of law agreed upon by the Par-                       any computational, typographical or other similar error in
ties. In the absence of such agreement, the Arbitrator will                       an Award (including the reallocation of fees pursuant to
be guided by the law or the rules of law that the Arbitrator                      Rule 26(c)), or the Arbitrator may sua sponte propose to
deems to be most appropriate. The Arbitrator may grant                            correct such errors in an Award. A Party opposing such
any remedy or relief that is just and equitable and within                        correction shall have seven (7) calendar days thereafter in
the scope of the Parties’ agreement, including but not                            which to file any objection. The Arbitrator may make any
limited to specific performance of a contract or any other                        necessary and appropriate correction to the Award within
equitable or legal remedy.                                                        fourteen (14) calendar days of receiving a request or seven
                                                                                  (7) calendar days after the Arbitrator’s proposal to do so.
(c) In addition to a Final Award or Partial Final Award, the                      The Arbitrator may extend the time within which to make
Arbitrator may make other decisions, including interim or                         corrections upon good cause. The corrected Award shall
partial rulings, orders and Awards.                                               be served upon the Parties in the same manner as the
                                                                                  Award.
(d) The Arbitrator may grant whatever interim measures
are deemed necessary, including injunctive relief and                             (j) The Award is considered final, for purposes of judicial
measures for the protection or conservation of property and                       proceeding to enforce, modify or vacate the Award pursu-
disposition of disposable goods. Such interim measures                            ant to Rule 20, fourteen (14) calendar days after service
may take the form of an interim Award, and the Arbitrator                         is deemed effective if no request for a correction is made,
may require security for the costs of such measures. Any                          or as of the effective date of service of a corrected Award.
recourse by a Party to a court for interim or provisional relief
shall not be deemed incompatible with the agreement to
arbitrate or a waiver of the right to arbitrate.                                  Rule 20.         Enforcement of the Award
                                                                                  Proceedings to enforce, confirm, modify or vacate an
(e) The Award of the Arbitrator may allocate Arbitration                          Award will be controlled by and conducted in conformity
Fees and Arbitrator compensation and expenses unless                              with the Federal Arbitration Act, 9 U.S.C. Sec 1 et. seq. or
such an allocation is expressly prohibited by the Parties’                        applicable state law. The Parties to an Arbitration under
agreement. (Such a prohibition may not limit the power                            these Rules shall be deemed to have consented that judg-
of the Arbitrator to allocate Arbitration fees and Arbitrator                     ment upon the Award may be entered in any court having
compensation and expenses pursuant to Rule 26(c).)                                jurisdiction thereof.

(f) The Award of the Arbitrator may allocate attorneys’ fees
and expenses and interest (at such rate and from such
                                                                                  Rule 21.         Confidentiality and Privacy
date as the Arbitrator may deem appropriate) if provided                          (a) JAMS and the Arbitrator shall maintain the confiden-
by the Parties’ agreement or allowed by applicable law.                           tial nature of the Arbitration proceeding and the Award,
                                                                                  including the Hearing, except as necessary in connection
(g) The Award will consist of a written statement signed by                       with a judicial challenge to or enforcement of an Award,
the Arbitrator regarding the disposition of each claim and                        or unless otherwise required by law or judicial decision.
the relief, if any, as to each claim. Unless all Parties agree
otherwise, the Award shall also contain a concise written                         (b) The Arbitrator may issue orders to protect the confi-
statement of the reasons for the Award.                                           dentiality of proprietary information, trade secrets or other
                                                                                  sensitive information.

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(c) Subject to the discretion of the Arbitrator or agree-                         to enter the proposed Consent Award and may withdraw
ment of the Parties, any person having a direct interest                          from the case.
in the Arbitration may attend the Arbitration Hearing. The
Arbitrator may exclude any non-Party from any part of a
Hearing.
                                                                                  Rule 24.         Sanctions
                                                                                  The Arbitrator may order appropriate sanctions for failure
                                                                                  of a Party to comply with its obligations under any of these
Rule 22.          Waiver                                                          Rules. These sanctions may include, but are not limited to,
(a) If a Party becomes aware of a violation of or failure to                      assessment of Arbitration fees and Arbitrator compensation
comply with these Rules and fails promptly to object in                           and expenses, any other costs occasioned by the action-
writing, the objection will be deemed waived, unless the                          able conduct including reasonable attorney’s fees, exclu-
Arbitrator determines that waiver will cause substantial                          sion of certain evidence, drawing adverse inferences, or in
injustice or hardship.                                                            extreme cases determining an issue or issues submitted to
                                                                                  Arbitration adversely to the Party that has failed to comply.
(b) If any Party becomes aware of information that could
be the basis of a challenge for cause to the continued
service of the Arbitrator, such challenge must be made
                                                                                  Rule 25.         Disqualification of the
promptly, in writing, to the Arbitrator or JAMS. Failure to do                                     Arbitrator as a Witness or
so shall constitute a waiver of any objection to continued                                         Party and Exclusion of Liability
service by the Arbitrator.                                                        (a) The Parties may not call the Arbitrator, the Case Man-
                                                                                  ager or any other JAMS employee or agent as a witness
Rule 23.          Settlement and Consent Award                                    or as an expert in any pending or subsequent litigation or
                                                                                  other proceeding involving the Parties and relating to the
(a) The Parties may agree, at any stage of the Arbitration
                                                                                  dispute that is the subject of the Arbitration. The Arbitrator,
process, to submit the case to JAMS for mediation. The
                                                                                  Case Manager and other JAMS employees and agents are
JAMS mediator assigned to the case may not be the Arbi-
                                                                                  also incompetent to testify as witnesses or experts in any
trator, unless the Parties so agree pursuant to Rule 23 (b).
                                                                                  such proceeding.

(b) The Parties may agree to seek the assistance of the
                                                                                  (b) The Parties shall defend and/or pay the cost (includ-
Arbitrator in reaching settlement. By their written agree-
                                                                                  ing any attorneys’ fees) of defending the Arbitrator, Case
ment to submit the matter to the Arbitrator for settlement
                                                                                  Manager and/or JAMS from any subpoenas from outside
assistance, the Parties will be deemed to have agreed that
                                                                                  Parties arising from the Arbitration.
the assistance of the Arbitrator in such settlement efforts
will not disqualify the Arbitrator from continuing to serve
                                                                                  (c) The Parties agree that neither the Arbitrator, Case
as Arbitrator if settlement is not reached; nor shall such
                                                                                  Manager nor JAMS is a necessary Party in any litigation or
assistance be argued to a reviewing court as the basis for
                                                                                  other proceeding relating to the Arbitration or the subject
vacating or modifying an Award.
                                                                                  matter of the Arbitration, and neither the Arbitrator, Case
                                                                                  Manager nor JAMS, including its employees or agents, shall
(c) If, at any stage of the Arbitration process, all Parties
                                                                                  be liable to any Party for any act or omission in connection
agree upon a settlement of the issues in dispute and
                                                                                  with any Arbitration conducted under these Rules, includ-
request the Arbitrator to embody the agreement in a Con-
                                                                                  ing but not limited to any disqualification of or recusal by
sent Award, the Arbitrator shall comply with such request
                                                                                  the Arbitrator.
unless the Arbitrator believes the terms of the agreement
are illegal or undermine the integrity of the Arbitration
process. If the Arbitrator is concerned about the possible                        Rule 26.	Fees
consequences of the proposed Consent Award, he or she                             (a) Each Party shall pay its pro-rata share of JAMS fees
shall inform the Parties of that concern and may request                          and expenses as set forth in the JAMS fee schedule in ef-
additional specific information from the Parties regarding                        fect at the time of the commencement of the Arbitration,
the proposed Consent Award. The Arbitrator may refuse

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unless the Parties agree on a different allocation of fees                        (d) In the event that the Award of the Arbitrator is between
and expenses. JAMS agreement to render services is jointly                        the agreed-upon minimum and maximum amounts, the
with the Party and the attorney or other representative of                        Award shall become final as is. In the event that the Award
the Party in the Arbitration. The non-payment of fees may                         is below the agreed-upon minimum amount, the final
result in an administrative suspension of the case in ac-                         Award issued shall be corrected to reflect the agreed-upon
cordance with Rule 6(c).                                                          minimum amount. In the event that the Award is above
                                                                                  the agreed-upon maximum amount, the final Award issued
(b) JAMS requires that the Parties deposit the fees and                           shall be corrected to reflect the agreed-upon maximum
expenses for the Arbitration prior to the Hearing and the                         amount.
Arbitrator may preclude a Party that has failed to deposit
its pro-rata or agreed-upon share of the fees and expenses
from offering evidence of any affirmative claim at the Hear-
                                                                                  Rule 28.         Final Offer (or Baseball)
ing.                                                                                               Arbitration Option
                                                                                  (a) Upon agreement of the Parties to use the option set
(c) The Parties are jointly and severally liable for the pay-                     forth in this Rule, at least seven (7) calendar days before
ment of JAMS Arbitration fees and Arbitrator compensation                         the Arbitration Hearing, the Parties shall exchange and
and expenses. In the event that one Party has paid more                           provide to JAMS written proposals for the amount of money
than its share of such fees, compensation and expenses,                           damages they would offer or demand, as applicable, and
the Arbitrator may Award against any Party any such fees,                         that they believe to be appropriate based on the standard
compensation and expenses that such Party owes with                               set forth in Rule 19(b). JAMS shall promptly provide a copy
respect to the Arbitration.                                                       of the Parties’ proposals to the Arbitrator, unless the Parties
                                                                                  agree that they should not be provided to the Arbitrator.
(d) Entities whose interests are not adverse with respect to                      At any time prior to the close of the Arbitration Hearing,
the issues in dispute shall be treated as a single Party for                      the Parties may exchange revised written proposals or
purposes of JAMS assessment of fees. JAMS shall deter-                            demands, which shall supersede all prior proposals. The
mine whether the interests between entities are adverse for                       revised written proposals shall be provided to JAMS, which
purpose of fees, considering such factors as whether the                          shall promptly provide them to the Arbitrator, unless the
entities are represented by the same attorney and whether                         Parties agree otherwise.
the entities are presenting joint or separate positions at the
Arbitration.                                                                      (b) If the Arbitrator has been informed of the written pro-
                                                                                  posals, in rendering the Award the Arbitrator shall choose
                                                                                  between the Parties’ last proposals, selecting the proposal
Rule 27.          Bracketed (or High-Low)                                         that the Arbitrator finds most reasonable and appropriate in
                  Arbitration Option                                              light of the standard set forth in Rule 19(b). This provision
(a) At any time before the issuance of the Arbitration                            modifies Rule 19(f) in that no written statement of reasons
Award, the Parties may agree, in writing, on minimum and                          shall accompany the Award.
maximum amounts of damages that may be awarded on
each claim or on all claims in the aggregate. The Parties                         (c) If the Arbitrator has not been informed of the written
shall promptly notify JAMS, and provide to JAMS a copy                            proposals, the Arbitrator shall render the Award as if pursu-
of their written agreement setting forth the agreed-upon                          ant to Rule 19, except that the Award shall thereafter be
maximum and minimum amounts.                                                      corrected to conform to the closest of the last proposals,
                                                                                  and the closest of the last proposals will become the Award.
(b) JAMS shall not inform the Arbitrator of the agreement
to proceed with this option or of the agreed-upon minimum                         (d) Other than as provided herein, the provisions of Rule
and maximum levels without the consent of the Parties.                            19 shall be applicable.

(c) The Arbitrator shall render the Award in accordance
with Rule 19.


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